Case 2:02-cr-20168-SH|\/| Document 107 Filed 07/07/05 Page 1 of 2 Page|D 107

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IN THE UNITED sTATEs DISTRICT COURT BY`“ D'c‘
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

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UN s TES oF AMERICA, W@CF*t?§WHB
a"i!. vi_`_;
vs. No. 02-20168»Ma

DETROI'I‘ BOYD ,

Defendant.

 

ORDER DENYING MO'I‘ION 'I‘O SET RE-SENTENCING HEARING

 

Before the court is defendant’s June 29, 2005, motion to set
a re-sentencing hearing in this matter. Defendant’s motion
states that the Supreme Court granted defendant’s application for
writ of certiorari on January 24, 2005, and remanded the case to
the Sixth Circuit Court of Appeals. The court consulted with
Sixth Circuit Court of Appeals Deputy Clerk Diane Schnur on June
30, 2005. Ms. Schnur advises that this case did not go before
the Supreme Court and that a mandate is scheduled to be issued in
this case on July l, 2005. When the court receives the mandate
from the Sixth Circuit Court of Appeals, the matter will be set
for re-sentencing. For the foregoing reasons, defendant’s motion
to set the re-sentencing hearing is DENIED.

It is so ORDERED this o“L day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

